Case 2:21-cv-14431-MCA-MAH         Document 19-1      Filed 10/28/21   Page 1 of 9 PageID:
                                         175



 Aaron S. Eckenthal
 LERNER, DAVID, LITTENBERG,
  KRUMHOLZ & MENTLIK, LLP
 20 Commerce Drive
 Cranford, NJ 07016
 Tel: 908.654.5000

 Attorneys for Plaintiff Word Ape, LLC d/b/a ChomChom Roller

                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

  WORD APE, LLC d/b/a CHOMCHOM                 :   Document Filed Electronically
  ROLLER,                                      :
                                               :
                             Plaintiff,        :   Civil Action No. 21-14431-MCA-MAH
           v.                                  :
                                               :   Madeline Cox Arleo, U.S.D.J.
  ONTEL PRODUCTS CORPORATION and               :   Michael A. Hammer, U.S.M.J.
  LING FUN TRADING, LTD.,                      :
                        Defendants.            x




                    BRIEF IN SUPPORT OF PLAINTIFF’S MOTION TO
                  DISMISS DEFENDANTS’ AMENDED COUNTERCLAIMS




 7049605_1.docx
Case 2:21-cv-14431-MCA-MAH                          Document 19-1              Filed 10/28/21            Page 2 of 9 PageID:
                                                          176



                                                 TABLE OF CONTENTS

                                                                                                                              Page

 TABLE OF AUTHORITIES .......................................................................................................... ii

 I.     BACKGROUND ........................................................................................... 1

 II. LEGAL STANDARD ..................................................................................... 1

 III. ARGUMENT ............................................................................................... 2

      A.     The Amazon Services Business
      Solutions Agreement Is Not A Contract ..................................................................................... 2

      B.    The First And Second
      Counterclaims Fail To Allege Malice ......................................................................................... 3

      C.    Defendants’ Counterclaim For
      Unjust Enrichment Remains Deficient ....................................................................................... 5

 IV. CONCLUSION ............................................................................................. 6




                                                                   i
 7049605_1.docx
Case 2:21-cv-14431-MCA-MAH                            Document 19-1                Filed 10/28/21              Page 3 of 9 PageID:
                                                            177



                                                TABLE OF AUTHORITIES
                                                                                                 Page(s)
 CASES
 Columbia Trading Corp. v. Green Elecs., LLC,
    No. 17-1309, 2018 U.S. Dist. LEXIS 129048 (D.N.J. July 27, 2018).......................................1

 Duffy v. Charles Schwab & Co.,
    123 F. Supp. 2d 802 (D.N.J. 2000) ............................................................................................5

 Eli Lilly & Co. v. Roussel Corp.,
     23 F. Supp. 2d 460 (D.N.J. 1998) ..............................................................................................5

 G.P. Indus., Inc. v. Eran Indus., Inc.,
    500 F.3d 1369 (Fed. Cir. 2007)..................................................................................................4

 Globetrotter Software v. Elan Comput. Grp.,
    362 F.3d 1367 (Fed.Cir. 2004)...................................................................................................4

 Hard 2 Find Accessories, Inc. v. Amazon.com, Inc.,
    58 F. Supp. 3d 1166 (W.D. Wash. 2014), aff’d sub nom., Hard2Find
    Accessories, Inc. v. Amazon.com, Inc., 691 F. App’x 406 (9th Cir. 2017) ................................2

 Heflin v. Coleman Music & Ent., L.L.C.,
    No. 2:10CV566, 2011 WL 6130802 (E.D. Va. Dec. 5, 2011), aff’d sub nom.,
    Heflin v. Coleman Music & Ent., LLC, 494 F. App’x 92 (Fed. Cir. 2012) ...............................4

 Marina Dist. Dev. Co. v. AC Ocean Walk LLC,
   No. 20-15719, 2021 U.S. Dist. LEXIS 74571 (D.N.J. Apr. 19, 2021) ......................................3

 Mikohn Gaming Corp. v. Acres Gaming, Inc.,
    165 F.3d 891 (Fed. Cir. 1998)....................................................................................................4

 Nostrame v. Santiago,
    213 N.J. 109, 61 A.3d 893 (2013)..........................................................................................2, 3

 Ragner Tech. Corp. v. Telebrands Corp.,
    No. 15-8185, 2016 U.S. Dist. LEXIS 84132 (D.N.J. June 29, 2018) ........................................3

 Signature Bank v. Check-X-Change, LLC,
    No. 12-2802, 2013 U.S. Dist. LEXIS 90880 (D.N.J. June 27, 2013) ........................................1

 VRG Corp. v. GKN Realty Corp.,
   135 N.J. 539, 641 A.2d 519 (1994)............................................................................................5

 STATUES, RULES & OTHER AUTHORITIES
 Fed. R. Civ. P. 12(b)(6)................................................................................................................1, 2



                                                                     ii
 7049605_1.docx
Case 2:21-cv-14431-MCA-MAH              Document 19-1        Filed 10/28/21      Page 4 of 9 PageID:
                                              178



 I.       BACKGROUND
          Plaintiff filed a motion to dismiss Defendants’ three counterclaims under Rule 12(b)(6)

 (ECF No. 14). In response to that motion, Defendants amended its three counterclaims. (See ECF

 No 16.) However, Defendants’ three amended counterclaims for (1) tortious interference with

 contract; (2) tortious interference with prospective economic benefit; and (3) unjust enrichment,

 remain deficient and therefore Plaintiff renews its motion to dismiss under Rule 12(b)(6).

          Plaintiff’s prior motion to dismiss identified why Defendants’ counterclaims were both

 factually and legally deficient. But the additional information included in Defendants’ amended

 counterclaims, along with any legal argument presented in Defendants’ brief in opposition to

 Plaintiff’s first motion to dismiss, do not sufficiently address those shortcomings. Accordingly,

 all three of Defendants’ amended counterclaims remain factually and legally insufficient to present

 a claim upon which relief can be granted.

 II.      LEGAL STANDARD
          That standard used to evaluate a motion to dismiss a counterclaim is the same standard

 used for a motion to dismiss under Fed. R. Civ. P. 12(b)(6). Signature Bank v. Check-X-Change,

 LLC, No. 12-2802, 2013 U.S. Dist. LEXIS 90880 (D.N.J. June 27, 2013). This was fully discussed

 by the court in Columbia Trading Corp. v. Green Electronics, LLC, No. 17-1309, 2018 U.S. Dist.

 LEXIS 129048, at *5 (D.N.J. July 27, 2018) (citations omitted), which stated:

       Under this standard, the counterclaim must contain sufficient factual matter to state a
       claim that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 679, 129 S. Ct. 1937,
       173 L. Ed. 2d 868 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.
       Ct. 1955, 167 L. Ed. 2d 929 (2007)). In evaluating the sufficiency of a counterclaim, the
       court must separate the factual and legal elements. Fowler v. UPMC Shadyside, 578 F.3d
       203, 210-211 (3d Cir. 2009). Restatements of the elements of a claim are legal
       conclusions, and therefore, are not entitled to a presumption of truth. Burtch v. Milberg
       Factors, Inc., 662 F.3d 212, 224 (3d Cir. 2011). A court will, however, accept the
       counterclaim's well pleaded facts as true. Fowler, 578 F.3d at 210.




 7049605_1.docx
Case 2:21-cv-14431-MCA-MAH               Document 19-1         Filed 10/28/21      Page 5 of 9 PageID:
                                               179



        On a Rule 12(b)(6) motion to dismiss, a district court may not rely on matters extraneous
        to the pleading sought to be dismissed. Fed. R. Civ. P. 12(d). A motion to dismiss a
        counterclaim must be decided “on the face of the counterclaim.” Lukoil N. Am. LLC v.
        Turnersville Petroleum Inc., 2015 U.S. Dist. LEXIS 123434, 2015 WL 5455648, at *1
        (D.N.J. Sept. 16, 2015). However, in certain circumstances, a court may also consider
        undisputed and authentic exhibits as well as matters of public record. In re Burlington
        Coat Factory Sec. Litig., 114 F.3d 1410, 1425 (3d Cir. 1997).
           Under the Rule 12(b)(6) standard, all three of Defendants’ counterclaims cannot stand and

 must be dismissed.

 III.      ARGUMENT
           A.     The Amazon Services Business Solutions Agreement Is Not A Contract
           In order to set forth a cause of action for tortious interference of contract, there must be a

 contract in place. Nostrame v. Santiago, 213 N.J. 109, 121, 61 A.3d 893, 900 (2013). But

 Defendants have not demonstrated that any such contract exists.

           Defendants rely on their Amazon Services Business Solutions Agreement (“Amazon

 BSA”) for the contract that forms the basis of their first counterclaim for tortious interference with

 contract. The terms of the Amazon BSA (ECF No. 14-1, at 2) make it clear that the BSA is not a

 contract because it is terminable at will with mere notice. Indeed, the district court where

 Amazon’s headquarters is located, United States District Court for the Western District of

 Washington, confirmed this interpretation of the Amazon BSA. In Hard 2 Find Accessories,

 Inc. v. Amazon.com, Inc., 58 F. Supp. 3d 1166, 1169 (W.D. Wash. 2014), aff’d sub nom.,

 Hard2Find Accessories, Inc. v. Amazon.com, Inc., 691 F. App’x 406 (9th Cir. 2017), the court

 examined a provision that is not materially different from the provision contained within the

 present Amazon BSA that is at issue in this case. The court held:

        The BSA provides that Amazon may terminate or suspend the Agreement or any service
        by notice to the seller for any reason at any time. Likewise, sellers may terminate the
        Agreement or service for any reason at any time. Accordingly, the Agreement provides
        for an at will relationship between sellers and Amazon.
 Hard 2 Find Accessories, Inc., 58 F. Supp. 3d at 1169.

                                                     2
 7049605_1.docx
Case 2:21-cv-14431-MCA-MAH              Document 19-1         Filed 10/28/21      Page 6 of 9 PageID:
                                              180



          Thus, Defendants’ amended counterclaim for tortious interference with contract is based

 on the false legal proposition that the Amazon BSA is a contract. It is not. It is merely an

 expectancy.      Accordingly, Defendants’ first amended counterclaim fails to state a legally

 cognizable claim.

          B.      The First And Second Counterclaims Fail To Allege Malice
          A cause of action for tortious interference with contract or for prospective contractual

 relation both require allegations that the means of the interference was intentional and improper.

 Nostrame, 213 N.J. 109, at 122. The intentional aspect is sometimes referred to as malice. Ragner

 Tech. Corp. v. Telebrands Corp., No. 15-8185, 2016 U.S. Dist. LEXIS 84132, at *8-9 (D.N.J.

 June 29, 2018) (“The term ‘malice’ as used in a tortious interference claim under New Jersey law

 ‘is not used in the literal sense requiring ill will toward the plaintiff, but instead malice is defined

 to mean that the harm was inflicted intentionally and without justification or excuse’”); Marina

 Dist. Dev. Co. v. AC Ocean Walk LLC, No. 20-15719, 2021 U.S. Dist. LEXIS 74571, at *22

 (D.N.J. Apr. 19, 2021) (“[W]rongful means has been explained to include fraud, defamation,

 deceit and misrepresentation, violence, intimidation, criminal, or civil threats and/or violations of

 law.”). In that regard, the wrongful means must rise to the level of being independently actionable.

 See Nostrame, 213 N.J. at 124, 61 A.3d at 902 (defamation, deceit, violence, fraud, intimidation,

 misrepresentation, criminal or civil threats, and/or violations of the law are among the kinds of

 conduct that would be considered to be “wrongful means.” On the other hand, lesser sorts of

 behavior have been found to fall short of constituting wrongful means in the ordinary business

 context, e.g., vigorous solicitation of competitor company's customers, sneaky, and or

 underhanded acts are not wrongful means.).

          Here, Defendants’ amended first and second counterclaims assert that the enforcement of

 the ChomChom patent is the required improper means necessary to maintain the first and second

                                                    3
 7049605_1.docx
Case 2:21-cv-14431-MCA-MAH              Document 19-1        Filed 10/28/21       Page 7 of 9 PageID:
                                              181



 counterclaims for tortious interference. (ECF No. 17, at 5.) Not surprisingly, Ontel disagrees with

 Plaintiff’s infringement position but does not (and cannot) assert that Plaintiff’s case is objectively

 baseless.

          Communications to deter others from infringing its patent rights are not improper unless

 the patent owner knows them to be baseless. The law requires a showing of bad faith to deem

 enforcement communications regarding an issued patent as wrongful. Mikohn Gaming Corp. v.

 Acres Gaming, Inc., 165 F.3d 891, 898 (Fed. Cir. 1998) (“We apply federal patent law and

 precedent relating to the giving of notice of patent rights, in reviewing the grant of an injunction

 against the giving of such notice. As we have discussed, federal law requires a showing of bad

 faith in order to bar such communications.”).

          As noted in G.P. Industries, Inc. v. Eran Industries, Inc., 500 F.3d 1369 (Fed. Cir. 2007):

      The Supreme Court elaborated on the meaning of “objectively baseless,” explaining that
      “the lawsuit must be objectively baseless in the sense that no reasonable litigant could
      realistically expect success on the merits.” Prof. Real Estate Investors, Inc. v. Columbia
      Pictures Indus., Inc., 508 U.S. 49, 60, 113 S.Ct. 1920, 123 L.Ed.2d 611 (1993). Although
      the Professional Real Estate case involved an antitrust action, we have expressly applied
      the “objectively baseless” standard to a situation in which the party challenged statements
      made in cease-and-desist letters by a patentee asserting its patent rights. [Globetrotter
      Software v. Elan Computer Group, 362 F.3d 1367, 1377 (Fed.Cir. 2004)]. We stated that
      a “plaintiff claiming that a patent holder has engaged in wrongful conduct by asserting
      claims of patent infringement must establish that the claims of infringement were
      objectively baseless.”
 Id. at 1374-75 (emphasis added); see also Heflin v. Coleman Music & Ent., L.L.C.,

 No. 2:10CV566, 2011 WL 6130802, at *9 (E.D. Va. Dec. 5, 2011), aff’d sub nom., Heflin v.

 Coleman Music & Ent., LLC, 494 F. App’x 92 (Fed. Cir. 2012) (“A patentee is authorized by law

 to notify potential infringers that they may be infringing a patent unless the patentee knows that

 such infringement claims are false and objectively baseless. Although we have ultimately found

 that Plaintiff’s infringement claims were meritless, we cannot say that, at the time he filed the suit,

 Plaintiff knew that his claims were false, or that to file such claims was an outrageous act.”).

                                                   4
 7049605_1.docx
Case 2:21-cv-14431-MCA-MAH              Document 19-1        Filed 10/28/21       Page 8 of 9 PageID:
                                              182



          Here, Defendants’ first and second amended counterclaims make no such allegations of

 bad faith by Plaintiff ____ there is none. Plaintiff is allowed to rightfully assert its patent rights.

 Accordingly, Defendants’ first and second amended counterclaims for tortious interference remain

 insufficient and have failed to state a claim upon which relief can be granted.

          C.      Defendants’ Counterclaim For Unjust Enrichment Remains Deficient
          Ontel argues that its claim for unjust enrichment is based on the benefits from reduced

 competition in the Amazon marketplace for Ontel’s product. (ECF No. 17, at 5; ECF No. 16 ¶ 52.)

 This argument does not, however, address the quasi contract requirements in New Jersey. Duffy v.

 Charles Schwab & Co., 123 F. Supp. 2d 802, 814-15 (D.N.J. 2000) (Holding a quasi contract

 requirement by showing that defendant received a benefit and that retention of the benefit without

 payment would be unjust; plaintiff “must show that it expected remuneration from the defendant

 at the time it performed or conferred a benefit on defendant and that the failure of remuneration

 enriched defendant beyond its contractual rights.”); Eli Lilly & Co. v. Roussel Corp., 23 F. Supp.

 2d 460, 496 (D.N.J. 1998); see also VRG Corp. v. GKN Realty Corp., 135 N.J. 539, 554, 641 A.2d

 519, 526 (1994).

          Here, Defendants’ third amended counterclaim does not set forth sufficient facts (because

 they cannot) that there was any expectation of remuneration from ChomChom when the alleged

 benefit was conferred or that any enrichment to ChomChom occurred beyond its contractual rights.

 (See ECF No. 14-1, at 5.) Ontel and ChomChom are competitors. There has never been any kind

 of contractual relationship between them, and Ontel would have no reasonable expectation of

 payment from ChomChom for Ontel’s sales activities through Amazon.com. Thus, Ontel’s third

 amended counterclaim for unjust enrichment remains legally deficient.




                                                   5
 7049605_1.docx
Case 2:21-cv-14431-MCA-MAH           Document 19-1       Filed 10/28/21    Page 9 of 9 PageID:
                                           183



 IV.      CONCLUSION
          As discussed above, Defendants’ amended first, second, and third counterclaims remain

 deficient and are insufficiently pled to state a legal claim upon which relief can be granted.

 Accordingly, each should be dismissed.

                                             Respectfully submitted,

                                             LERNER, DAVID, LITTENBERG,
                                              KRUMHOLZ & MENTLIK, LLP
                                             Attorneys for Plaintiff Word Ape,
                                              LLC d/b/a ChomChom Roller

 Dated: October 28, 2021                     By:    s/ Aaron S. Eckenthal
                                                    Aaron S. Eckenthal
                                                    Tel: 908.654.5000
                                                    E-mail:aeckenthal@lernerdavid.com
                                                           litigation@lernerdavid.com

 OF COUNSEL
 Lance G. Johnson
 (Admitted pro hac vice)
 JOHNSON LEGAL PLLC
 12545 White Drive
 Fairfax, VA 22030
 Tel: 202.445.2000
 E-mail:Docketing@lgjlegal.com




                                                6
 7049605_1.docx
